Case 2:10-md-02179-CJB-DPC Document 8963-21 Filed 03/20/13 Page 1 of 25




                   Exhibit 11B
 Case 2:10-md-02179-CJB-DPC Document 8963-21 Filed 03/20/13 Page 2 of 25




  Economic And Property
   Damages Settlement –
  Business Economic Loss
(“BEL”) Compensation Issue

                        January 24, 2013




                IN CAMERA SUBMISSION BY BP
               Case 2:10-md-02179-CJB-DPC Document 8963-21 Filed 03/20/13 Page 3 of 25
1. What Is The Problem With How Class Counsel Seek To Implement
The Settlement For BEL Claims?


1.   Class Counsel seek to implement the BEL Compensation Framework
     (Ex. 4C) contrary to the Settlement’s plain terms.
     –   Stated purpose of the Agreement is to settle Class Claims for economic damages caused by the oil spill
         ("The purpose of this Agreement is to settle all and only the RELEASED CLAIMS of the Economic Class,
         PLAINTIFFS, and ECONOMIC CLASS MEMBERS …”). Settlement Agreement at 1.

     –   Each BEL claimant must satisfy documentation, causation, and compensation tests. Exhibits 4A, 4B
         and 4C.

     –   The Agreement was not intended to pay objectively non-existent, fictitious losses, or artificially inflated
         losses.

2.   Class Counsel seek to implement the BEL Compensation Framework
     (Ex. 4C) in an illogical and absurd manner, so that:
     –   Claimants whose own objective financial data establishes that they have no losses at all during 2010 would
         be paid for non-existent, fictitious losses.

     –   Claimants whose own objective financial data establishes that they have only a small loss during 2010 would
         be paid for artificially inflated losses.

     –   Claimants with profits that were greater in 2010 than any prior period would be paid large amounts for non-
         existent, fictitious losses.

3.   Class Counsel seek to implement the BEL Framework so that the
     objective BEL compensation tests improperly use claimants’ financial
     data, and hence do not work as the parties agreed and intended.
                                                                                                                       2
Case 2:10-md-02179-CJB-DPC Document 8963-21 Filed 03/20/13 Page 4 of 25
Case 2:10-md-02179-CJB-DPC Document 8963-21 Filed 03/20/13 Page 5 of 25
Case 2:10-md-02179-CJB-DPC Document 8963-21 Filed 03/20/13 Page 6 of 25
          Case 2:10-md-02179-CJB-DPC Document 8963-21 Filed 03/20/13 Page 7 of 25
3. How Prevalent Is This Problem With Class Counsel’s Approach To
Implementing The Settlement For BEL Claims?


1. The Settlement Program has done a good job of applying
   requirements and handling BEL claims.
      Processed more than 3,300 BEL claims.

      BP has appealed only 1.9% of total awards, and 5.5% of BEL awards.

2. But for some claims, revenue is not properly matched to the
   corresponding expenses that generated that revenue, as Ex.
   4C requires.

3. The Settlement Program recognizes this mismatch problem,
   and that “the result can be disproportionate awards for certain
   types of claims.” 1-15-13 P. Juneau e-mail.




                                                                                    6
          Case 2:10-md-02179-CJB-DPC Document 8963-21 Filed 03/20/13 Page 8 of 25
3. How Prevalent Is This Problem With Class Counsel’s Approach To
Implementing The Settlement For BEL Claims? (cont.)


4. The revenue-corresponding expense matching problem is
   prevalent for:
      Farming claims: at least 82 farming claimants seeking $43 million.

      Construction claims: at least 484 construction claimants seeking $163
      million.

      Professional services claims: at least 445 professional services
      claimants seeking $123 million.

5. The revenue-corresponding expense matching problem has a
   large potential dollar impact – hundreds of millions of dollars,
   and increasing.




                                                                                    7
          Case 2:10-md-02179-CJB-DPC Document 8963-21 Filed 03/20/13 Page 9 of 25
4.1. How Is The BEL Claim Process Supposed To Work Under
The Settlement?


1. BEL Framework requires claimants to satisfy requirements
   for documentation, causation, and compensation
   (Exs. 4A, 4B, 4C).
2. “The compensation framework for business claimants
   compares the actual profit of a business during a defined
   post-spill period in 2010 to the profit that the claimant might
   have expected to earn in the comparable post-spill period of
   2010.” Ex. 4C at 1 (emph. added).
3. Steps to applying BEL test:
      Step 1 “is determined as the difference in Variable Profit between the 2010
      Compensation Period selected by the claimant and the Variable Profit over the
      comparable months of the Benchmark Period.” Ex. 4C at 3.
      Step 2 “is intended to compensate claimants for incremental profits the claimant
      might have been expected to generate in 2010 in the absence of the spill …”
      Ex. 4C at 4.

                                                                                         8
           Case 2:10-md-02179-CJB-DPC Document 8963-21 Filed 03/20/13 Page 10 of 25
4.1. How Is The BEL Claim Process Supposed To Work Under The
Settlement? (cont.)


4.   To calculate variable profit under the Agreement, “[s]um the monthly
     revenue over the period” and “[s]ubtract the corresponding variable
     expenses from revenue over the same time period.” Ex. 4C at 2 (emph.
     added).
5.   The Agreement uses the word “revenue,” which as Class Counsel
     concedes must be measured when “earned.” 12/16/12 Class Counsel
     Memo at 1. Revenue is earned through work over time, not just at the
     moment of payment. Standard accounting economics and literature
     support this.
6.   The Agreement requires identification of “corresponding variable
     expenses” to measure variable profit. “Corresponding” means that
     revenue must be matched with the expenses incurred to generate that
     revenue.
7.   The Agreement also requires identifying the change in variable profit
     between the 2010 period and the “comparable months” of the benchmark
     period, as the BEL compensation framework only makes sense if similar
     economic activities are undertaken in both periods. Ex. 4C at 2.

                                                                                      9
          Case 2:10-md-02179-CJB-DPC Document 8963-21 Filed 03/20/13 Page 11 of 25
4.2. What Is The Source Of The Problem With How Class Counsel
Seek To Implement The Settlement For BEL Claims?


1. The problem arises when claimants submit financial data
   which provides only the date of cash received and spent,
   without regard to when the revenue was earned or the
   corresponding expenses to earn that revenue were incurred,
   and thus does not match revenue and corresponding
   expenses.

2. As the Settlement Program recognized in rejecting Class
   Counsel’s earlier proposal to limit the financial data only to
   cash received and spent with respect to accrual basis
   financial statements: such an approach “could result in a loss
   or a greater loss not related to the Spill but instead is a result
   only of the timing of cash received.” 10-8-12 Memo. at 2
   (emph. added).



                                                                                     10
         Case 2:10-md-02179-CJB-DPC Document 8963-21 Filed 03/20/13 Page 12 of 25
4.2. What Is The Source Of The Problem With How Class Counsel
Seek To Implement The Settlement For BEL Claims? (cont.)


3. Class Counsel assert that variable profit should be based on
   (i) the months payment is received, regardless of when the
   revenue is actually earned, minus (ii) expenses paid only in
   those same months, regardless of when the expenses to
   generate that revenue were actually incurred. Class Counsel’s
   approach completely disconnects the revenues earned from
   the corresponding expenses incurred to earn those revenues.
      Assume a contractor receives $1000 for a project in June, then spends
      $200 in each month from June to Sept to perform work on that project.

      According to Class Counsel the contractor has $800 of profit in June
      and then $200 in losses for each of the next three months, even though
      the objective economic and financial data precludes any finding of a
      loss and establishes that the contractor earned a profit in each month.




                                                                                    11
         Case 2:10-md-02179-CJB-DPC Document 8963-21 Filed 03/20/13 Page 13 of 25
4.2. What Is The Source Of The Problem With How Class Counsel
Seek To Implement The Settlement For BEL Claims? (cont.)


4. Class Counsel assert that the financial data used to compare
   2010 and the benchmark period must be limited to cash
   received and expenses paid in the same months, rather than
   including comparable business activities (revenues and
   corresponding expenses), regardless of the disconnect
   between when the claimants sold the goods or services and
   incurred the corresponding expenses and charges:
      Assume in 2009 a farmer sells her crops in October and earns $1000,
      but in 2010, the same farmer sold her crops in November and earned
      $2500.

      According to Class Counsel, the farmer can select a May-October
      period for calculating variable profit and thus create a fictitious $1000
      loss in 2010 even though the farmer (i) had a record profits year and
      had no loss, and (ii) only can create a fictitious loss by ignoring
      objective financial data in the economically comparable period in 2010.

                                                                                    12
          Case 2:10-md-02179-CJB-DPC Document 8963-21 Filed 03/20/13 Page 14 of 25
5. Can The Agreement Be Implemented Properly In A Claimant-
Friendly Manner For BEL Claims?


1. Yes. Accounting experts have confirmed this, as has the
   Claims Administrator (“the Claims Administrator
   acknowledges that the type [of] approach proposed by BP is a
   reasonable one”). 1-15-13 P. Juneau e-mail.
2. To avoid improper implementation of the Settlement, BP has
   proposed—based upon the work of outside accounting
   experts—simple, specific, and claimant friendly steps to
   implement the Agreement and avoid the problem. In this
   regard:
   – The triggers rely on claimant-supplied data already entered into the
     PwC workbook and require no new information from claimants.
   – The triggers and fixes will not deprive any claimant of compensation
     due to any loss caused by the oil spill.
   – The triggers and fixes in fact will continue to overcompensate many
     claimants for losses, but will avoid absurd results.
                                                                                     13
          Case 2:10-md-02179-CJB-DPC Document 8963-21 Filed 03/20/13 Page 15 of 25
5. Can The Agreement Be Implemented Properly In A Claimant-
Friendly Manner For BEL Claims? (cont.)


3. BP’s approach is required by the Agreement’s language
   stating that revenues must be matched with their
   “corresponding variable expenses.” Ex. 4C at 2.
4. BP’s approach is required by the Agreement’s language
   stating that the “compensation framework for business
   claimants compares the actual profit of a business during a
   defined post-spill period in 2010 to the profit that the claimant
   might have expected to earn …” Ex. 4C at 1.




                                                                                     14
            Case 2:10-md-02179-CJB-DPC Document 8963-21 Filed 03/20/13 Page 16 of 25
6. What Does The Law Provide Regarding How Contracts Such As
The Settlement Agreement Must Be Implemented?


1.   Contracts should never be implemented or interpreted to produce
     illogical or absurd results.
        Publicker Chem. Corp. v. Belcher Oil Co., 792 F.2d 482, 487 (5th Cir. 1986);
        Cashio v. Shoriak, 481 So. 2d 1013, 1015-16 (La. 1986); see also Nixon v. Mo.
        Mun. League, 541 U.S. 125, 132-33, 138 (2004); Pub. Citizen v. United States
        Dep’t of Justice, 491 U.S. 440, 454-55 (1989); DiCola v. Food & Drug Admin.,
        77 F.3d 504, 507 (D.C. Cir. 1996); In re Dual-Deck Video Cassette Recorder
        Antitrust Litig., 10 F.3d 693, 695 (9th Cir. 1993).

2.   Contracts should never be implemented or interpreted to produce
     results contrary to the parties’ stated purpose and intent.
        Highland Crusader Offshore Partners LP v. LifeCare Holdings Inc., 377 F. App’x
        422, 426 (5th Cir. May 10, 2010); Makofsky v. Cunningham, 576 F.2d 1223,
        1228-29 (5th Cir. 1978); Fantastic Fakes, Inc. v. Pickwick Int’l, Inc., 661 F.2d
        479, 484-85 (5th Cir. 1981); Eckert v. Titan Tire Corp., 514 F.3d 801, 804-05
        (8th Cir. 2008); Travelers Ins. Co. v. McDermott Inc., 2003 WL 21999354, at *13-
        14 (E.D. La. Aug. 22, 2003); 11 WILLISTON ON CONTRACTS § 30:9 (4th ed. 1993);
        see also 2A SUTHERLAND STATUTORY CONSTRUCTION § 46:7 (7th ed. 2013).


                                                                                           15
            Case 2:10-md-02179-CJB-DPC Document 8963-21 Filed 03/20/13 Page 17 of 25
6. What Does The Law Provide Regarding How Contracts Such As
The Settlement Agreement Must Be Implemented? (cont.)


3.   Contracts should never be implemented or interpreted literally if a
     literal interpretation produces illogical or absurd results.
        Makofsky v. Cunningham, 576 F.2d 1223, 1229-30 (5th Cir. 1978); Koch Bus.
        Holdings, LLC v. Amoco Pipeline Holding Co., 554 F.3d 1334, 1338 (11th Cir.
        2009); see also Green v. Bock Laundry Mach. Co., 490 U.S. 504, 510-11, 527
        (1989); Perry v. Commerce Loan Co., 383 U.S. 392, 400 (1966) (quoting United
        States v. Am. Trucking Ass’ns, 310 U.S. 534, 543 (1940)).

4.   When faced with two contract interpretations, one which produces
     illogical or absurd results, and the other which is reasonable, a Court
     should always adopt the reasonable interpretation and never adopt
     the absurd or illogical one.
        Express Blower, Inc. v. Earthcare, LLC, 410 F. App’x 742, 748 (5th Cir. Dec. 9,
        2010); In re Liljeberg Enters., Inc., 304 F.3d 410, 442-43 (5th Cir. 2002)
        (Louisiana law); S. Cent. Bell Tel. Co. v. Canal Place Ltd. P’ship, 927 F.2d 867,
        869 (5th Cir. 1991); 16 WILLISTON ON CONTRACTS § 49:14 (4th ed. 1993 &
        suppl.); see also Corley v. United States, 556 U.S. 303, 317 (2009); Johnson v.
        United States, 529 U.S. 694, 706 n.9 (2000); 2A SUTHERLAND STATUTORY
        CONSTRUCTION § 45:21 (7th ed. 2013).
                                                                                            16
             Case 2:10-md-02179-CJB-DPC Document 8963-21 Filed 03/20/13 Page 18 of 25
7. What Are The Consequences If Class Counsel’s Approach To
Implementing The Settlement For BEL Claims Is Not Fixed?


1.   Class Counsel’s approach conflicts with the Settlement Agreement,
     which will be rewritten if Class Counsel’s approach is implemented.
        The Class Definition will be rewritten to delete the requirement that a Class Member have a
        “[l]oss of income, earnings or profits suffered ... as a result of the DEEPWATER HORIZON
        INCIDENT.” Agreement ¶ 1.3.1.2.

        The definition of “Economic Damage” will be rewritten to delete the language requiring “loss
        of profits, income and/or earnings arising in the Gulf Coast Areas or Specified Gulf Waters
        allegedly arising out of, due to, resulting from, or relating in any way to, directly or indirectly,
        the Deepwater Horizon Incident ...” Agreement ¶ 38.57.

        The BEL Compensation Framework (Ex. 4C) will be deleted and rewritten:

        — Term 1: Will delete description of BEL framework as compensating claimants for
           “reduction in profit” that “claimant might have expected to earn.” Ex. 4C at 1.

        — Term 2: “Revenue” in definition of Variable Profit will be deleted and changed instead to
           “payments received or cash received.” Ex. 4C at 2.

        — Term 3: “Corresponding” will be deleted from “corresponding variable expenses” in the
           definition of Variable Profit. Ex. 4C at 2.

        — Term 4: Will delete requirement that the 2010 period and benchmark period be
           “comparable” with respect to matching requirements. Ex. 4C at 3.

                                                                                                               17
         Case 2:10-md-02179-CJB-DPC Document 8963-21 Filed 03/20/13 Page 19 of 25
7. What Are The Consequences If Class Counsel’s Approach To
Implementing The Settlement For BEL Claims Is Not Fixed? (cont.)


2. Class Counsel’s approach conflicts with the Class Claims
   Form, resulting in confusion.
      Business Economic Loss Claim Form states “To make a Business
      Economic Loss Claim under … (the ‘Settlement’) for damages arising
      from the Deepwater Horizon Incident on April 20, 2010 …”

      Settlement Program website states that “If you or your business were
      harmed by the Deepwater Horizon Oil Spill, you may be able to get
      payments and other benefits from two separate legal settlements.”




                                                                                    18
          Case 2:10-md-02179-CJB-DPC Document 8963-21 Filed 03/20/13 Page 20 of 25
7. What Are The Consequences If Class Counsel’s Approach To
Implementing The Settlement For BEL Claims Is Not Fixed? (cont.)


3. Class Counsel’s approach will arbitrarily treat identically
   situated claimants fundamentally differently.
      Whether claimants receive compensation would depend solely on the
      timing of when they recorded receipts and payments – not upon their
      objective financial data or their actual revenues and corresponding
      expenses.
      Suppose in 2009 a claimant performs work and incurs $1000 of
      expenses each month from May to August for a project where it
      receives payment of $5000 on September 30; and in 2010, the
      claimant incurs $1000 of expenses each month from May to August for
      the same project where it is paid $5000 on October 1 – one day later.
      —   Objectively, and as the settlement agreement provides, a claimant had the same profits
          on that project in both 2009 and 2010.

      —   But under Class Counsel’s approach, a claimant could select a May to September
          compensation period. The claimant would show a profit of $1000 in 2009, but a loss in
          2010 – a fictitious loss of $5000 – all due to claimant receiving the cash payment of
          $5000 one day later than in 2009.

                                                                                                   19
          Case 2:10-md-02179-CJB-DPC Document 8963-21 Filed 03/20/13 Page 21 of 25
7. What Are The Consequences If Class Counsel’s Approach To
Implementing The Settlement For BEL Claims Is Not Fixed? (cont.)


4. If adopted, Class Counsel’s approach will result in claimants
   making claims and receiving compensation awards that are
   absurd and illogical because of the improper application or
   misuse of financial data when implementing the Agreement’s
   BEL Compensation Framework (Ex. 4C).

5. Class Counsel’s approach, if adopted, conflicts with standard
   accounting approaches to evaluating a firm’s financial
   performance.
   — Farm accounting principles (Expert Charles E. Finch)

   — Construction firm accounting principles (Expert David A. Hall)

   — Professional Services firm accounting principles (Expert Xavier
      Oustalniol)



                                                                                     20
         Case 2:10-md-02179-CJB-DPC Document 8963-21 Filed 03/20/13 Page 22 of 25
7. What Are The Consequences If Class Counsel’s Approach To
Implementing The Settlement For BEL Claims Is Not Fixed? (cont.)


6. Class Counsel’s approach, if adopted, would conflict with the
   Settlement Program’s October 8 policy statement against
   compensating for “a loss or a greater loss not related to the
   Spill but instead is a result only of the timing of cash
   received.” 10-8-12 Memo. at 2.




                                                                                    21
8. What Has
         CaseThe   Settlement Claims
             2:10-md-02179-CJB-DPC           Administrator
                                   Document 8963-21                 Said
                                                    Filed 03/20/13 Page 23 ofAbout
                                                                              25   Class
Counsel’s Approach Of Mismatching Revenues And Corresponding
Expenses?

1. On October 8, 2012, the Claims Administrator properly
   considered and rejected Class Counsel’s approach that the
   Administrator should allow claimants who prepared their
   financial statements on an accrual basis to restate them on a
   cash basis in order to create and recover fictitious losses.
     – The Claims Administrator recognized that “such restatement could
       result in a loss or a greater loss not related to the Spill but instead is a
       result only of the timing of cash received.”

     – Exact same rationale applies to financial statements and data originally
       prepared on a cash basis that mismatch the timing of revenues and
       corresponding expenses.




                                                                                           22
8. What Has
         CaseThe   Settlement Claims
             2:10-md-02179-CJB-DPC           Administrator
                                   Document 8963-21                 Said
                                                    Filed 03/20/13 Page 24 ofAbout
                                                                              25   Class
Counsel’s Approach Of Mismatching Revenues And Corresponding
Expenses? (cont.)

2. On January 15, 2013, when brought to his attention, the
   Claims Administrator recognized an issue with the awards that
   could result from Class Counsel's approach and agreed that
   BP's approach to avoid these results was reasonable.
     – The Claims Administrator acknowledged that when applying Class
       Counsel methodology “the result can be disproportionate awards for
       certain types of claims.”

     – The Claims Administrator agreed that BP’s specific approach to
       implement the Settlement Agreement so as to avoid these results
       “constitute[s] a reasonable approach to evaluating such claims.”




                                                                                           23
8. What Has
         CaseThe   Settlement Claims
             2:10-md-02179-CJB-DPC           Administrator
                                   Document 8963-21                 Said
                                                    Filed 03/20/13 Page 25 ofAbout
                                                                              25   Class
Counsel’s Approach Of Mismatching Revenues And Corresponding
Expenses? (cont.)

3. Nevertheless, while agreeing “that the type [of] approach
   proposed by BP is a reasonable one,” the Claims
   Administrator questioned whether it was “within his authority
   to implement such an approach absent agreement of the
   parties or express direction from the Court.”

4. Accordingly, BP requests that the Court enforce the
   Settlement Agreement and authorize the Claims Administrator
   to apply BP’s reasonable implementation approach, and thus
   avoid the myriad problems caused by Class Counsel’s
   rewriting of the Agreement.
        Revenue – does not simply equal cash received.

        Corresponding – has meaning and cannot be ignored.



                                                                                           24
